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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 11-20582-CR-MARTINEZ


  UNITED STATES OF AMERICA

  v.

  MARLLORY CHACON ROSSELL,
                     Defendant.
  ___________________________________/


                       MOTION BY THE UNITED STATES FOR
                   REDUCTION OF SENTENCE PURSUANT TO RULE 35

         The United States of America hereby moves, pursuant to Federal Rule of Criminal

  Procedure 35, to reduce defendant Marllory Chacon Rossell=s sentence based upon her substantial

  assistance in the prosecution of other persons who have committed offenses. The government

  is requesting a hearing to articulate both the amount and basis for reduction. The undersigned has

  conferred with counsel for the Defendant, William Barzee, Esq., and he is in agreement with this

  motion.   However, he is also requesting a hearing to argue for what he believes is the appropriate

  reduction for the Defendant.

                                               Respectfully submitted,

                                               ARIANA FAJARDO ORSHAN
                                               UNITED STATES ATTORNEY

                                        By:    /s/Monique Botero
                                               MONIQUE BOTERO
                                               ASSISTANT UNITED STATES ATTORNEY
                                               Florida Bar No. 722286
                                               U.S. Attorney’s Office - SDFL
                                               11200 NW 20th Street
                                               Miami, FL 33172
                                               Telephone: (305) 715-7648
                                               Monique.Botero@usdoj.gov
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 7, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.

                                           /s/Monique Botero
                                           MONIQUE BOTERO
                                           ASSISTANT UNITED STATES ATTORNEY




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